
339 U.S. 258 (1950)
MORFORD
v.
UNITED STATES.
No. 236.
Supreme Court of United States.
Decided April 10, 1950.
ON PETITION FOR CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT.
Abraham J. Isserman, David Rein and Joseph Forer for petitioner.
*259 Solicitor General Perlman, Assistant Attorney General Campbell and Robert S. Erdahl for the United States.
Briefs of amici curiae supporting petitioner were filed by William L. Standard for the Committee for a Democratic Far Eastern Policy and for the Congress of American Women; Victor Rabinowitz, Nathan Witt and Leonard B. Boudin for the American Communications Association (CIO) et al.; Leo J. Linder for the Methodist Federation for Social Action; Lester M. Levin for the National Council of the Arts, Sciences and Professions; and John J. Abt for the Progressive Party of America et al.
PER CURIAM.
In this case the trial court did not permit counsel for petitioner to interrogate prospective government employee jurors upon voir dire examination with specific reference to the possible influence of the "Loyalty Order," Executive Order No. 9835, on their ability to render a just and impartial verdict. Such questioning was permitted in Dennis v. United States, ante, p. 162; see n. 4 of the Court's opinion, ante, pp. 170-171.
We said in Dennis that "Preservation of the opportunity to prove actual bias is a guarantee of a defendant's right to an impartial jury." Ante, pp. 171-172. Since that opportunity was denied in this case, the petition for writ of certiorari is granted and the judgment of the Court of Appeals is reversed.
Reversed.
MR. JUSTICE BLACK and MR. JUSTICE FRANKFURTER concur in the reversal for the reasons expressed in their opinions in Dennis v. United States, ante, p. 162.
MR. JUSTICE DOUGLAS concurs in the reversal of the judgment. Since, however, counsel requested that all *260 government employees be excluded from the jury in these cases, he thinks the request should have been granted for the reasons stated by the dissenting Justices in Frazier v. United States, 335 U. S. 497, and in Dennis v. United States, ante, p. 162.
MR. JUSTICE CLARK took no part in the consideration or decision of this case.
